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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                               :
                                                       :
                                                       :      Case No. 24-cr-00061 (RBW)
       v.                                              :
                                                       :      Status Hearing: April 5, 2024
                                                       :
MATTHEW BALLEK,                                        :
    Defendant.                                         :

                  CONSENT MOTION TO CONTINUE STATUS HEARING

       Defendant Matthew Ballek, by and through undersigned counsel, respectfully moves this

Court to continue his status hearing scheduled for April 5, 2024, to May 6th, 9th, or 30th, 2024.

       In support of the motion, counsel states the following:

       1. On February 7, 2024, Mr. Ballek was arraigned before Magistrate Judge G. Michael

             Harvey.

       2. On February 12, 2024, Mr. Ballek conceded detention and waived written findings.

       3. On March 28, 2024, counsel received a plea offer from the government.

       4. Beginning April 1, 2024, counsel has been in daily depositions in a wrongful death suit

             against the Metropolitan Police Department. Counsel has not had an opportunity to

             fully discuss the plea offer with Mr. Ballek and needs additional time.

       5. Currently, there is no further update regarding the status of Mr. Ballek case, as

             the parties remain in ongoing negotiations. Therefore, Mr. Ballek requests that the

             court continue the status hearing from April 5, 2024, to any of the above-mentioned

             dates, or to dates that are convenient for the Court. The parties are not available from

             May 16-29, 2024.

       6. The United States Attorney’s Office consents to Mr. Ballek’s request.
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       7. Counsel submits that the time between now and the next hearing shall be excluded

           pursuant to the Speedy Trial Act.

WHEREFORE, Mr. Ballek respectfully requests that the Court continue his status hearing

scheduled for April 5, 2023, to May 6th, 9th, or 30th, 2024.

                                               Respectfully submitted,

                                               /s/ Brandi Harden
                                               Brandi Harden, Esq.
                                               Counsel for Matthew Ballek
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                                 CERTIFICATE OF SERVICE

I hereby certify that on April 4, 2024, I caused a copy of the foregoing motion to be served on

counsel of record via ECF.


                                                      /s/ Brandi Harden
                                                      _______________________________
                                                      Brandi Harden, Esq.
